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Qe NORTHERN DISTRICT OF TEXAS LL
FT. WORTH DIVISION CLERK, U.S. DISTRICT COURT
By
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BILLY JACK CRUTSINGER )
Petitioner )
) 4:07-CV-703-Y
v. ) ECF

)
NATHANIEL QUARTERMAN, Director )

Texas Department of Criminal Justice, ) (Death Penalty Case)
Correctional Institutions Division, )
Respondent )

PETITION
FOR A WRIT OF HABEAS CORPUS
and
Exhibits
(and separately filed)
MOTION #1 FOR
EVIDENTIARY HEARING

INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL

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Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 2of30 PagelD 192

TABLE OF CONTENTS
TABLE OF CONTENTS ...... 000.0. c eee enn eee ene e eens ii
TABLE OF ABBREVIATIONS ............00 000 e eee eee ee eee t eee eee vi
INTRODUCTION 2.00... n ene e ened 2
I. Basis of Confinement ............... 00022 ee re 2
2. Overview of Procedural History ............0 00.0 ee eee ee ees 2
3. Standard of Review ......... 00.0: cece eee eee tenes 3
REASONS TO ISSUE THE WRIT OF HABEAS CORPUS ..............+.. 5

GROUND ONE (DIRECT APPEAL ISSUE 4 & STATE HABEAS CLAIM 17): Whether
Mr. Crutsinger’s Fourth Amendment rights were violated because the
taint of his illegal arrest was not sufficiently attenuated as to authorize
the admission of his confession, DNA sample, and other evidence. . 6
A. Statement of Facts... 0.0.0.0... ccc eee eee 6
B. Standard of Review.......... 00.0. cece eee eens 9

1. The Fifth Circuit in Doescher recognizes that the Stone
Doctrine does not apply when a litigant is denied a full and

fair opportunity to litigate.... 2.2... 0.0... cee eee 10

2. The conflict between and among Doescher, Swicegood,
and Gamble, is currently before the Fifth Circuit in
Balentine v. Quarterman oo... 00 cece cee 12

C. The state court decisions were contrary to and an unreasonable
application of Brown v. Illinois... 00. eee 14
1. Brown requires an in-custody statement to be“sufficiently
an act of free will to purge the primary taint”........ 14

2. The evidence was obtained by exploitation of the illegality
of his arrest... 0.0... eee eee ee 15

a. The Findings of Fact are speculative ......... 16

b. There is clear and convincing record evidence that
because of his mental impairments, the confession

was not voluntary ..............0.0 00-00 19

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y ii
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 3of30 PagelD 193

G) Mr. Crutsinger has low IQ, a learning
disorder, and had been placed in special

education .... 0.0.0... c cece eee eee ee 19
(ii) Mr. Crutsinger was mentally ill; he suffered
from depression for many years........ 20

(iii) Mr. Crutsinger was addicted to alcohol. . 20
(iv) Mr. Crutsinger suffered head trauma... . 22

(v) Conclusion ........... 000.000 ceca 22

3. The decision of the state courts are contrary to and an
unreasonable application ofBrown ............... 23

a. Mr. Crutsinger was interrogated for a half-hour
before the tape recorder was turned on ....... 23

b. The REID method of interrogation results in covert
COCICION 2... eee eee eee 24

c.. Mentally impaired persons like Mr. Crutsinger, are

more sensitive to coercion, and less likely to
withstand the pressures of interrogation than the

average person ....... 0... 2. . ce eee eee 25

d. The short interval between his arrest and confession

is a critical factor in the Brown analysis....... 25

e. The jury instructions omitted any instruction to the

jury that the threshold question was the voluntariness

of the statement ................0 2.000000. 26

f. Conclusion ........ 0.0... c eee 27

4. The error was not harmless..............0..0.0.. (27

GROUND TWO (STATE HABEAS CLAIM 15): Whether Mr. Crutsinger was
denied his Sixth and Fourteenth amendmentrights to effective assistance
of counsel because counsel failed to adequately investigate and develop

-crucial evidence in all phases of the trial.............00..000.. 31
A. Standard of Review. ........ 00.0 cee ee eee 31
B. The FF are not entitled to a presumption of correctness... . . 31

1. A little less than six (6) months elapsed from the date of
appointment of trial counsel to the imposition of the death

sentence — and no continuance was requested....... 37

2. The mitigation investigation was too late........... 38
a. The social history investigation began after the
suppression hearing ................00.00. 38

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y iii
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 4of30 PagelD 194

b. The social history investigation began after voir dire

had commenced .................2.-000005 40

Cc. The social history investigation began after any
examination or diagnosis by Dr. Mills, forensic

psychiatrist for the defense................. 4]

C. Trial counsel’s performance was constitutionally deficient. . 41
1. Trial counsel’s performance was deficient ......... 42

a. They failed to timely and adequately investigate and
develop (and thereafter present) the theme of alcohol
addiction in all phases of the trial............ 42
(i) There is an association between heavy

drinking and physical brain damage .... 44
(ii) Frontal lobe dysfunction (brain damage) is
associated with increased rates of non-
volitional antisocial behavior.......... 45
(ii) Mr. Crutsinger’s alcohol addiction and its
effects comport with current scientific
knowledge .............2020 eee aee 45

b. They failed to timely and adequately investigate and
develop (and thereafter present) the theme of head
trauma and non-volitional violence in all phases of

the trial 2... eee eee 47

C. They failed to present evidence of Mr. Crutsinger’s
mental impairments in all phases of the trial,
including: ....... ccc cece e eee nee eee 48
(i) pre-trial —involuntary confession ...... 48
(ii) —-guilt/innocence — nomens rea ......... 50
(iii) punishment — less morally culpable. .... 52
2. Trial counsel’s performance was prejudicial ........ 52
3. The state court determinations are contrary to, and an
unreasonable application of, Strickland ............ 54
GROUND THREE (HERRERA — ACTUAL INNOCENCE) ........0...00000- 56
A. Standard of Review... 0.00... cece nes 56
B. Mr. Crutsinger is actually innocent of capital murder ...... 57
1. Mens rea is an essential element of capital murder ... 57

2. Because of his “settled insanity,” Mr. Crutsinger lacked the
necessary mens rea for capital murder; however, there was

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y iv
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page5of30 PagelD 195

confusion in the law at the time of trial as to whether this
evidence was admissible in guilt/innocenceto negate mens

FOO oo ce ee eee eee neces 58

CONCLUSION ..... 0.000000 0 ccc cence cece n nee e eee ene 63
REQUEST TO EXPAND THE RECORD ......0. 0.0.0.0... 0000 eee ee eee 64
CERTIFICATE OF SERVICE ......00 0000000 0c ccc cece eee eens 66
EXHIBITS 2.0.0.0... 00. cece eee eee e een e ee eee eaed 67
Exhibit A: NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM,
Imagining and Alcoholism: A Window on the Brain ....... 67

Exhibit B: HAmMpby F. MOSELHY, GEORGE GEORGIOU, AND ASHRAF KAHN,
_ Frontal Lobe Changes in Alcoholism: A Review of the Literature,

Vol. 36, No. 5, ALCOHOL & ALCOHOLISM 357 (2001) .. 67
Exhibit C: Report of Dr. Goodness, dated September 10, 2003........ 67
Exhibit D: Letter of Goodness to Ray, dated 06-16-03 .............. 67
Exhibit E: Letter of Dasher to Ray, dated 07-10-03................. 67
Exhibit F: Terms of Engagement Contract, dated 7-11-03 ........... 67

Exhibit G: M. C. Brower and B.H. Price, 71 J. NEUROL NEUROSURG.
PSYCHIATRY, Neuropsychiatry of Frontal Lobe Dysfunction in
Violent and Criminal Behavior: a Critical Review, 720, 721
(2001) 2... cc eee cee eee eens

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y

 

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 6of30 PagelD 196

TABLE OF ABBREVIATIONS
The following are a list of abbreviations used within the pleading:

CR: CR is the abbreviation for Clerk’s Record, as required by TEX. R.
APP. PROC. 34.1. It is followed by the volume number before the
colon, and the page numbers after the colon.

RR_: RR is the abbreviation for Reporter’s Record, pursuant to TEX. R.
_ App. PROC. 34.1,whichis the trial transcripttestimony recorded by
the court reporter. The abbreviation RR is followed by the volume

number before the colon, and the page numbers after the colon.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 7 of 30 PagelD 197

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FT. WORTH DIVISION
BILLY JACK CRUTSINGER )
Petitioner )
) 4:07-CV-703-Y
V. ) ECF
)
)
NATHANIEL QUARTERMAN, Director )
Texas Department of Criminal Justice, ) (Death Penalty Case)
Correctional Institutions Division, )
.. Respondent )

 

BILLY JACK CRUTSINGER (hereinafter also referred to as Petitioner,
Applicant, or CRUTSINGER) petitions pursuant to 28 U.S.C. § 2241 & 28 U.S.C.§
2254 for a writ of habeas corpus because he is confined by the State of Texas under
a sentence of death, in violation of the laws and Constitution of the United States.

BILLY JACK CRUTSINGER has never sought federal habeas corpus relief
for this conviction and sentence before. This is his first appearance in federal district

court for any purpose.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 1

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 8of30 PagelD 198

INTRODUCTION

1. BASIS OF CONFINEMENT.

BILLY JACK CRUTSINGER, inmate number #999-459, is confined by the
Texas Department of Criminal Justice, Correctional Institutions Division, Nathaniel
Quarterman, Director, TDCJ-ID. Petitioner is being denied his liberty and also faces
execution under an unconstitutionalconviction for capital murder and the concomitant

sentence of death.

2. OVERVIEW OF PROCEDURAL HISTORY.

On September 25, 2003, Mr. Crutsinger was tried and convicted of capital
murder in the 213" Judicial District Court in Tarrant County, TX. (CR 7: 1284). He
was sentenced to death on October 1, 2003 (CR 7:1302). On May 10, 2006, the Texas
Court of Criminal Appeals affirmed the conviction and sentence of death on direct
appeal. Crutsinger v. State, 206 S.W.3d 607 (Tex. Crim. App. 2006). On December
11, 2006, the United States Supreme Court denied certiorari. Crutsingerv. Texas, 127
S.Ct. 836 (2006).

Mr. Crutsinger had filed a timely Application for Writ of Habeas Corpus,
received by the Texas Court of Criminal Appeals on November 14, 2005, in which he

presented eighteen allegations. The State’s Proposed Findings of Fact and

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 2

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page9of30 PagelD 199

Conclusions of Law were adopted verbatim by the trial court on November 7, 2005,
and the trial judge recommended that relief be denied. On November 7, 2007, the
Texas Court of Criminal Appeals, in an unpublished order, adopted the trial judge’s
findings and conclusions, and denied habeas relief. Ex parte Crutsinger, No. WR-

63,481-01 (Tex. Crim. App. November 7, 2007).

3. STANDARD OF REVIEW.
Title 28, section 2254(d) of the United States Code provides: _

An application for a writ of habeas corpus on behalf of a person in
custody pursuant to the judgment of a State court shall not be granted
with respect to any claim that was adjudicated on the merits in State
court proceedings unless the adjudication of the claim —

(1) _ resulted in a decision that was contrary to, or involved an
unreasonable application of, clearly established Federal
law, as determined by the Supreme Court of the United
States; or

(2) resulted in a decision that was based on an unreasonable
determination of the facts in light of the evidence
presented in the State court proceeding.

28 U.S.C. § 2254(d) (emphasis supplied).
In Buntion v. Quarterman, 524 F.3d 664, 670 (5" Cir. 2008), the Fifth Circuit

Court of Appeals held:

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 3

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 10of30 PagelD 200

‘A decision is contrary to clearly established federal law ‘if the state
court arrives at a conclusion opposite to that reached by [the Supreme
Court] on a question of law or if the state court decides a case differently
than [the] Court has on a set of materially indistinguishable facts.’ ”
Gardner v. Johnson, 247 F.3d 551, 557 (Sth Cir.2001 (alterations in
original) (quoting Williams v. Taylor, 529 U.S. 362, 413 (2000)). Where
the state court has identified the proper legal principle but unreasonably
applied it to the case, that court's determination represents an
unreasonable application of federal law. /d. (quoting Williams, 529 U.S.
at 413).

“The question under AEDPA is not whether a federal court believes
the state court's determination was incorrect but whether that
determination was unreasonable — a substantially higher threshold.”
Schriro v. Landrigan, __ U.S.__, 127 S.Ct. 1933, 1939 (2007) (citing
Williams, 529 U.S. at 410). The factual findings of the state habeas court
are to be given deference unless they are “based on an unreasonable
determination of the facts in light of the evidence presented in the State
court proceeding.” 28 U.S.C. § 2254(d)(2).”

Buntion, 524 F.3d at 670 (emphasis supplied).

Buntion further held that this Court “reviews the district court's legal
determinations and application of AEDPAde novo. Foster v. Quarterman, 466 F.3d
359, 368 (Sth Cir.2006)” [and it reviews factual findings] for clear error.” Buntion,

524 F.3d at 670.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 4

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page11of30 PagelD 201

REASONS TO ISSUE THE WRIT OF HABEAS CORPUS

Petitioner’s conviction and death sentence were obtained in violation of his
rights under the Fourth, Sixth and Fourteenth amendments to the United States
Constitution. U.S. CONST. amend. IV; U.S. CONST. amend. VI; U.S. CONST. amend.
XIV.

Set out below are the grounds that warrant the issuance of the writ of habeas
corpus. All factual and legal allegations presented in any claim in this petition are

fully incorporated into each and every other claim in this petition. | -

 

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 5

 
 

Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page12of30 PagelD 202

GROUND ONE (DIRECT APPEAL ISSUE 4 & STATE HABEAS CLAIM 17): Whether
Mr. Crutsinger’s Fourth Amendment rights were violated because the taint of
his illegal arrest was not sufficiently attenuated as to authorize the admission of
his confession, DNA sample, and other evidence

A. Statement of Facts

Mr. Crutsinger filed a motion to suppress his confession, DNA evidence and
other evidence, because it was obtained pursuant to an illegal arrest. (CR 2:119-122;
CR 2:132; CR 7:1197-1201). Following a hearing on the motion to suppress, the trial
court entered Findings of Fact and Conclusions of Law. (RR vol. 7; CR 8:1335-
1339).

In deciding the issue, the Texas Court of Criminal Appeals wrote that “a review
of the pertinent facts is necessary to address” Mr. Crutsinger’s complaint that “the
taint of his illegal arrest was not sufficiently attenuated so as to authorize the

admission of his confession, DNA sample, and other evidence obtained pursuant to

his illegal arrest.” Crutsinger v. State, 206 S.W.3d 607, 609 (Tex. Crim. App. 2006).
/

Thereafter, the direct appeal opinion recites:

On April 6, 2003, appellant entered the home of eighty-nine-year-old
Pearl Magouirk and her seventy-one-year-old daughter Patricia Syren
and stabbed them both to death. Appellant then took items from the
house including Syren's Cadillac and credit card. Magouirk's and Syren's
bodies were discovered on April 8, 2003. While investigating the crime,

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 6

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 13 of 30 PagelD 203

officers learned that Syren's credit card was being used in Galveston,
Texas. The detectives contacted the Galveston Police Department and
traveled to the city to further investigate. The Galveston police
determined that the person using the credit cardwas currently in one of
several bars in Galveston. The investigation ultimately led Officer
Clemente Garcia to a man later identified as appellant. When Garcia
approached appellant and asked him his name, appellant did not initially
answer. When Garcia asked appellant for his name again, appellant told
him his name was “David.” Garcia arrested appellant for failing to
identify himself and read him his Miranda rights. [footnote omitted].
After reading appellant his rights, Garcia asked him again for his name,
and appellant identified himself as “David Townsend.” Garcia took
appellantto the Galveston Police Department where he subsequently was
able to properly identify him.

While in the holding cell, appellant was introduced to Detective John
McCaskill of the Fort Worth Police Department. McCaskill asked
appellant if he could see his hands, and appellant obliged. [footnote
omitted]. Immediately thereafter, McCaskill left the area where
appellant was being held. A few minutes later, appellant said that he had
“messed up” and asked to speak to McCaskill. Appellant was then taken
to an interview room where McCaskill met with him and again read him
his rights. Appellant subsequently consented to having a DNA sample
taken from him and to a search of a black duffel bag that had been in his
possession when he was arrested. After McCaskill again read appellant
his legal warnings and appellant again waived them, appellant confessed
in a taperecorded statement to killing the two women in Fort Worth and
taking their property. In the confession, appellant told officers where
other evidence of the crime could be found. [footnote omitted].

After a pre-trial hearing on appellant's motion to suppress, the trial court
found that appellant had waived his legal rights and had voluntarily
signed the consent forms allowing the police to collect DNA evidence
and to search his duffel bag. The court also determined that appellanthad
voluntarily given a recorded statement and was not threatened, coerced,
or promised anything.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 7

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 14o0f30 PagelD 204

The court concluded that, although the Galveston police had probable
cause to arrest appellant for the offense of credit card abuse, a
warrantless arrest was not justified because there was insufficient
evidence to show that the defendant’ was about to escape. The court
further concluded that appellant did not commit the offense of failure to
identify before he was arrested. Therefore, the police illegally arrested
appellant on statutory grounds.See TEX. PENAL CODE, Ch. 14.

Turning to an attenuation of the taint analysis, the court determined that
the short time that passed between appellant's arrest and his confession
was not important due to the facts in the case. Specifically, appellant was
given his warnings three times before he completed the oral confession.
He indicated that he understood his rights each time, but he never
invoked them. Significant intervening circumstances were present in the
case, including the fact that after his arrest appellant became very
emotional, asked to speak to McCaskill, and was very cooperative with
the police during the detention and investigation. The court determined
that appellant's request to speak to McCaskill was an independent act of
free will. The court concluded that: although appellant was illegally
arrested, the police conduct was not purposeful or flagrant; probable
cause existed for arresting appellant for credit card abuse, therefore his
arrest was not a gross violation of the legal process; and appellant's
confession was not a product of coercion or duress. Thus, the court
concluded that any taint from the illegal arrest was sufficiently
attenuated, and the confession and any other evidence discovered after
appellant asked to speak to McCaskill was admissible.

 

The trial court was correct in its determinations. ....

Crutsinger v. State, 206 S.W.3d 607, 609-610 (Tex. Crim. App. 2006).

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 8

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 15 of 30 PagelD 205

B. Standard of Review

The Fourth Amendment to the U.S. Constitution provides:

The right of the people to be secure in their persons, houses, papers, and

effects, against unreasonable searches and seizures, shall not be violated,

and no Warrants shall issue, but upon probable cause, supported by Oath

or affirmation, and particularly describing the place to be searched, and

the persons or things to be seized.

U.S. CONST. amend. IV.

In Stone v. Powell, 428 U.S. 465, 481-482 (1976), the United States Supreme
Court wrote:

We hold, therefore, that where the State has provided an opportunity for

full and fair litigation of a Fourth Amendment claim, the Constitution

does not require that a state prisoner be granted federal habeas corpus

relief on the ground that evidence obtained in an unconstitutional search

or seizure was introduced at his trial.

It is Mr. Crutsinger’s contention that the Stone Doctrine is not a bar to full
merits review of the current claim because the state court denied him the full and fair
opportunity to litigate. Doescher v. Estelle, 616 F.2d 205 (5" Cir. 1980); Swicegood
v. Alabama, 577 F.2d 1322 (5" Cir. 1976).

However, as more fully discussed below, there is a conflict between the Fifth

Circuit and other circuits as to whether the failure of the state courts to apply the

correct constitutional standard is a denial of an opportunity for full and fair litigation.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 9

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 16 of 30 PagelD 206

See Gamble v. Oklahoma, 583 F.2d 1161, 1164-65 (10" Cir. 1978); but see
Swicegood v. Alabama, 577 F.2d 1322 (5" Cir. 1976).

Additionally, there appears to be an internal conflict in the judicial precedent
in the Fifth Circuit as tothis issue. Compare Doescher v. Estelle, 616 F.2d 205 (5"

Cir. 1980) with Swicegood v. Alabama, 577 F.2d 1322 (5" Cir. 1976).

 

1. The Fifth Circuit in Doescher recognizes that the Stone Doctrine
does not apply when a litigant is denied a full and fair opportunity
to litigate

In Doescher v. Estelle, 616 F.2d 205 (5" Cir. 1980), a case from the Northern
District of Texas, the Fifth Circuit recognized that the Stone Doctrine is not a bar
when the litigant’s full and fair opportunity to litigate was denied because after the
constitutional law had changed, the Texas state court nonetheless applied prior law.

The Doescher Court held:

The state trial court did not fully adjudicate Doescher's claim that the
affidavit for the warrant contained false statements, since the court
followed a procedure which was subsequently ruled unconstitutional by
Franks v. Delaware, 438 U.S. 154 (1978). On direct appeal, the Texas
Court of Criminal Appeals was apparently unaware that, since the
trial, Franks had been handed down. Stone v. Powell, supra, is
therefore no bar since the State of Texas did not provide Doescher with
— a “full and fair” determination of his Fourth Amendment claim. As

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 10

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page17 of 30 PagelD 207

a matter of comity, however, it is appropriate that Doescher be required
to first exhaust his state remedies as to this claim.

Doescher, 616 F.2d at 207. See also RANDY HERTZ & JAMES S. LIEBMAN, FEDERAL
HABEAS CORPUS PRAC. & PROC. 1388, n.47 (4th ed. 2001).

The concept of a “full and fair” determination of a Fourth Amendment claim
is further elucidated by Gamble v. Oklahoma, 583 F.2d 1161, 1164-65 (10" Cir.
1978). In Gamble, the Tenth Circuit discussed the application of the Stone Doctrine.
The Gamble court wrote:

Although Stone announceda verbal standard, it failed to clothe the words
“opportunity for fulland fair litigation” with any precise meaning. The
only hint of meaning is a single, oblique footnote signaling the reader to
consult Townsend v. Sain...

An increasing number of circuits, including this one, believe that
Townsend ... is not the sole measure of the meaning of “opportunityfor
full and fair litigation.”... “Opportunity for full and fair consideration”
... contemplates recognition and at least colorable application of the
correct Fourth Amendment constitutional standards. Thus, a federal
court is not precluded from considering Fourth Amendment claims in
habeas corpus proceedings where the state court willfully refuses to
apply the correct and controlling constitutional standards....

 

' In Stone v. Powell, 428 U.S. 465, 481-482 (1976), the Supreme Court wrote:

We hold, therefore, that where the State has provided an opportunity for full and fair
litigation of a Fourth Amendment claim, the Constitution does not require that a state
prisoner be granted federal habeas corpus relief on the ground that evidence obtained
in an unconstitutional search or seizure was introduced at his trial.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 11

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 18 of 30 PageID 208

Further, the Gamble court wrote that “[a]lthough the court announced its
holding in terms of ‘full and fair litigation... its opinionrepeatedly spoke of ‘full and
fair consideration.’.... The Court’s use of the words “consideration” and “litigation
interchangeably” suggests that in some instances more than procedural opportunity
to raise and litigate a Fourth Amendment claim is required. Indeed, consideration
connotes the actual evaluation of a claim under the correct constitutional standard.
Although it is not presented by this case, we also can foresee the possibility that the
correct federal standard could be applied,. but in a manner so unconscionable as to
deny a defendant the opportunity for full and fair litigation.” Gamble, 583 F.2d nn.

2& 3.

2. The conflict between and among Doescher, Swicegood, and Gamble,
is currently before the Fifth Circuit in Balentine v. Quarterman

The issue of the conflict between Swicegood v. Alabama, 577 F.2d 1322 (5"
Cir. 1976) and Gamble v. Oklahoma, 583 F.2d 1161, 1164-65 (10" Cir. 1978) is
currently before the Fifth Circuit Court of Appeals inBalentine v. Quarterman, No. |
08-70014. The Magistrate’s Report, adopted by the district judge, recites:

Grounds one and two were denied under the rule of Stone v. Powell, 428

USS. 465, 494, 96 S.Ct. 3037, 3052, 49 L.Ed.2d 1067 (1976). Each of

these grounds sought the benefit of the Exclusionary Rule to prevent
consideration of evidence petitioner contends was illegally seized. This

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 12

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 19of30 PagelD 209

Court determined the Exclusionary Rule may not be invoked in federal
habeas corpus proceedings to collaterally challenge the admission of
evidence obtained as a result of illegal searches and seizures unless the
state court did not afford a full and fair opportunity to litigate such
Fourth Amendment claims. See Stone v. Powell, 428 U.S. at 494, 96
S.Ct. at 3052; Swicegood v. Alabama, 577 F.2d 1322, 1324 (Sth
Cir.1978).

In presenting these grounds, petitioner relied upon the law of other
Circuits which is different than the rule announced by the Fifth Circuit
in Swicegood. In his amended petition petitioner argued that “[t]he
failure of the state courts to apply the correct constitutional standard is
a denial of an opportunity for full and fair litigation. Gamble v.
Oklahoma, 583 F.2d 1161, 1164-65 (10th Cir. 1978); but see Swicegood
v. Alabama, 577 F.2d 1322 (Sth Cir. 1976).” (Am. Pet. at 58.) ....

... While the undersigned fully agrees with the rule in this Circuit as
announced in Swicegood and its progeny, it does appear this rule is
“debatable” since reasonable jurists of other circuits have adopted a
different rule as petitioner argues in presenting these claims.
Therefore, even though Fifth Circuit law appears to clearly bar petitioner
from relief on grounds one and two, the undersigned recommends a
certificate of appealability be issued with respect to grounds one and
two.

 

Balentine v. Quarterman, Case No. 2:03-CV-00039 (U.S.D.C. May 2, 2008) [Doc
#73] (emphasis supplied). Even if this district court perceives it is bound by the
judicial precedent of Swicegood, and any Fifth Circuit determinationin Balentine, Mr. |
Crutsinger raises the current issue plead herein, in order to preserve it for further

appellate review.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 13

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 20 of 30 PagelD 210

C. The state court decisions were contrary to and an unreasonable
application of Brown v. Illinois

1. Brown requires an in-custody statement to be “sufficiently an
act of free will to purge the primary taint”

In Brown v. Illinois, 422 U.S. 590, 591 (1975), the defendant, Richard Brown,
had been arrested without probable cause and without a warrant, but given Miranda
warnings. Thereafter, while he was in custody, he made two inculpatory statements.
The Supreme Court wrote that “[t]his case lies at the cross roads of the Fourth and the
Fifth Amendments. .... Expressed another way, the issue is whether the statements
were to be excluded as the fruit of the illegal arrest, or were admissible because the
giving of the Miranda warnings sufficiently attenuated the taint of the arrest.” Brown,
422 US. at 591.

In answering the issue, the Brown Court ruled that “[iJn order for the causal
chain, between the illegal arrest and the statements made subsequent thereto, to be
broken, Wong Sun [v. United States, 371 U.S. 471 (1963)], requires not merely that
the statement meet the Fifth Amendment standard of voluntariness but that it be
‘sufficiently an act of free will to purge the primary taint.’” Brown, 422 U.S. at 602,
citing Wong Sun, 371 U.S. at 486. Placing the burden of showing admissibility on the

prosecution, the Brown Court looked to the following in making the determination:

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 21 o0f30 PagelD 211

. The “voluntariness of the statement is a threshold requirement;”

° The “Miranda warnings ... in determining whether the confession
is obtained by exploitation of an illegal arrest;”

° The “temporal proximity of the arrest and the confession;”

° The “presence of intervening circumstances;” and

. The “purpose and flagrancy of the official misconduct are all
relevant.”

Brown, 422 U.S. at 604.

2. The evidence was obtained by exploitation of the illegality of
his arrest

It is a given that the trial court concluded that Mr. Crutsinger’s arrest was
illegal. (CR 8:1338). The Texas Court of Criminal Appeals concurred. Crutsinger,
206 S.W.3d at 610 (“The [trial] court ... concluded that appellant didiot commit the
offense of failure to identify before he was arrested. Therefore, the police illegally
arrested appellant on statutory grounds..... The trial court was correct in its
determinations.”). Given that the state courts determined that the arrest was illegal,

Brown dictates that the “voluntariness of the statement is a threshold requirement.”

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 15

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 22 of 30 PagelD 212

In its analysis, the state courts erroneously found that the evidence seized, and
the statements made, were the product of the free willof Mr. Crutsinger. Following
therefrom, the state courts then concluded that “any evidence obtained after [Mr.
Crutsinger] requested to speak to [Detective] McCaskill was sufficiently attenuated
from the illegal arrest as to be admissible.” Crutsinger, 206 S.W.3d at 611.

As will be demonstrated below, the state courts conclusions were predicated on
findings that were both speculative and conjectural, and not entitled to a presumption
of correctness. Rather, the record amply supports the fact that Mr. Crutsinger’s

relinquishment of his rights wasnot an act of free will.

a. The Findings of Fact are speculative
The findings at trial,’ on direct appeal, and in state habeas,’ are not entitled to

a presumption of correctness’ because they are predicated on speculation about

 

* Finding of Fact #15, CR 8:1337-1338.

>“... after McCaskill stepped out of the holding room, appellant became emotional, stated

that he had ‘messed up,” and asked to speak to the detective. Appellant’s request was a product
of his own free will and an intervening circumstance which weighs heavily in the State’s favor.”
Crutsinger, 206 S.W.3d at 611.

* See State’s Proposed Findings of Fact and Conclusions of Law, Claim #17, Finding of

Fact #37 incorporating the trial court’s FFCL in toto from the suppression hearing.

> “Under [28 U.S.C. § 2254](d)(2), a state court decision may be overturned on factual
grounds if its determinations of fact are "objectively unreasonable in the light of the evidence
presented in the state-court proceeding". Guidry v. Dretke, 397 F.3d 306, 316-317 (5" Cir.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 16

 

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 23 of 30 PagelD 213

“appearances” and “thought processes,” based on testimony from law enforcement,
who had no training in forensic psychology. These findings include, by way of
example, but not limitation:

° “Appellant’s request [to speak to Detective McCaskill] was a
product of his own free will.” Crutsinger, 206 S.W.3d at 611;

° “the Defendant had knowingly, intelligently and voluntarily
waived his rights,” CR 8:1337-1338, FFCL #15; and

° “the Defendant did not appear to be intoxicated and seemed
cognizant of his situation.” (CR 8:1337-1338, FFCL #11);

The suppression hearing reflects that law enforcement testified from their
subjective “belief,” rather than personal knowledge:

Prosecutor: “Did Mr. Crutsinger appear cognizant of what was going
on around him?,”

McCaskill: “Yes, ma’am.”

Prosecutor: “Did he appear to you to be under the influence of any type
of narcotic, drug or alcohol?,”

McCaskill: “No. I believe he had been drinking earlier in the day,but
he in no way appeared to be intoxicated.”

 

2005) citing Miller-El, 537 U.S. 322, 340 (2003). A determination of a factual issue made by a
State court shall be presumed to be correct, but that presumption of correctness can be rebuttable
by clear and convincing evidence. 28 U.S.C. § 2254(e)(1).

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 17
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 24 of 30 PagelD 214

(RR 7:18) (emphasis supplied). Law enforcement did not do a breath or blood test
to determine blood alcohol levels; so it is impossible to know whether in fact Mr.
Crutsinger was or was not intoxicated, during the interrogation. The aforementioned
“belief” of Detective McCaskill as to whether Mr. Crutsinger was intoxicated is
irrelevant in determining the voluntariness of Mr. Crutsinger’s statement. (RR 7:18).
This is particularly true because Detective McCaskill’s subjective belief that Mr.
Crutsinger was not intoxicated is contradicted by McCaskill’s testimony during the
suppression hearing that he “could smell a little bit of alcohol” on Mr. Crutsinger’s
breathe. (RR 7:59).

Further, merely because a defendant is “cooperative,” does not mean he is
acting voluntarily. Indeed, a finding of “free will” can not be predicated on an
absence of action — as the state court conclusions are, and which rely for their
support on the testimony of Detective McCaskill:

Prosecutor: “Were you able to observe anything about Mr. Crutsinger’s

demeanor that indicated to you whether or not he was still
willing to speak with you?”

McCaskill: “Well, he was very cooperative. He gave me no indication
that he did not want to speak to us at all’

(RR 7:66) (emphasis supplied).

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y. 18
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 25 of30 PagelD 215

b. There is clear and convincing record evidence that because of
his mental impairments, the confession was not voluntary

In contrast, there is evidence that Mr. Crutsinger suffered from several
significant mental impairments, including mental illness, specifically, depression; low
intellectual functioning; and head trauma and alcohol addiction, which likely resulted
in brain damage. These mental impairments call into question the voluntariness of
Mr. Crutsinger’s confession, and his ability to waive his rights knowingly,

intelligently and voluntarily.

(i) Mr. Crutsinger has low IQ, a learning disorder, and had
been placed in special education

Testimony reveals that Mr. Crutsinger had low intellectual functioning, and a
learning disorder. Several siblings were mentally retarded:

° Mr. Crutsinger had two sisters and three brothers. Three of them
were mentally retarded. (CR 31:38);

° Mr. Crutsinger’s fourth (4) grade school records memorialize
that he has “low I.Q. Social promotion.”(Defense Exhibit 10: p.
3, note of 4" grade teacher);

° Testing prior to trial confirmed that Mr. Crutsinger “obtained a
Verbal IQ (VIQ) score of 74 (4" percentile; Borderline), a
Performance IQ (PIQ) score of 94 (34" percentile; Average), and
a Full Scale IQ (FSIQ) score of 80 +/- 4 placing him in the Low
Average range of intellectual functioning.” (Exhibit C: Report of
Dr. Goodness, dated September 10, 2003, p. 8); and

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 19

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 26 of 30 PagelD 216

° “Billy Jack has a learning Disorder .... was previously labeled a
“slow learner” and was given special education services. He has
three siblings who were in special education and none of hisfive
siblings graduated high school.” (Exhibit C: Report of Dr.
Goodness, dated September 10, 2003, p. 11).

(ii) Mr. Crutsinger was mentally ill; he suffered from
depression for many years

There is also evidence that Mr. Crutsinger was mentally ill, in the form of
depression. “Billy Jack has struggled with depression for the past several years.”

Exhibit C: Report of Dr. Goodness, dated September 10, 2003, p.10.

(iii) Mr. Crutsinger was addicted to alcohol
Mr. Crutsinger had a long-standing alcohol addiction, as did other members of
his immediate family — a fact that demonstrates a non-volitional genetic component
to his disease of addiction. Mr. Crutsinger’s addiction was so severe, that it resulted
in physical deterioration:

° Linda Tucker Crutsinger, a former wife, testified that at least 15
years prior to the offense conduct, Mr. Crutsinger had a serious
alcohol addiction. In 1988 (the offense conduct was April 6, 2003
(CR 1:3)), Linda Tucker had met Mr. Crutsinger while working in
a bar. Mr. Crutsinger was a customer who “drank a lot,” and “got
drunk a lot.” (CR 32:55-56).

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 20
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 27 of 30 PagelD 217

. Linda Tucker’s sister (Mr. Crutsinger’s sister-in-law), Tammy
Bullard, testified that Mr. Crutsinger’s drinking was a “huge
problem.” (RR 32:103).

. Further, Mr. Crutsinger’s alcohol addiction has a genetic
component. Louise Crutsinger, his mother, testified that her
husband, Mr. Crutsinger’s father, had a problem with alcohol, and
drank all the time, even when working. (RR 32:115). The
records from John R. Lindsey State Jail reflect that Mr.
Crutsinger’s brother, too, was addicted to alcohol. (Defense
Exhibit 9: the “yes” box was checked to the question: “Has
anyone in your immediate family been hospitalized fortreatment
of alcoholism, narcotics addiction or mental disorders,” and “BRO
- RALPH CRUTSINGER, JR.” and FA - RALPH CRUTSINGER
identified as the immediate family members)) . __

° Detective McCaskill testified during the suppression hearing that
he “could smell a little bit of alcohol” on Mr. Crutsinger’s breathe.
(RR 7:59)

° “Billy Jack’s family reported that his drinking ‘got bad’
approximately four years ago and Billy Jack began to be verbally
aggressive and sometimes violent when he got drunk. His
drinking must have been quite heavy as he was diagnosed with
alcoholic hepatitis in 1996 following an automobile accid3ent.
Alcoholic hepatitis is a precursor to cirrhosis of the liver which
comes from excessive, consistentalcohol consumptionover a long
period of time.... When an individual has abused alcohol to the
degree that their liver is affected, chances are that their brain will
also have incurred damage.” (Exhibit C: Report of Dr. Goodness,
dated September 10, 2003, p. 12).

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 21

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 28 of 30 PagelD 218

(iv) Mr. Crutsinger suffered head trauma
Mr. Crutsinger experienced severe head trauma several years before the charged
offenses, as a result of an automobile accident, and concomitant brain impairment:
° Cheryl Moffett, the RN at the Galveston County jail, who testified
that Mr. Crutsinger “explained he took [Zoloft] after his sister
died in a car accident, he was driving, ....” (RR 29:14);
° Linda Tucker Crutsinger, a former wife, testified that “they had a
car accident, him [Mr. Crutsinger] and his mother and her [his
sister].” Mr. Crutsinger was driving the car. (RR 32:64, 65);
. Mr. Crutsinger’s medical history reflects thathe “has at least one
incident of lost consciousness which was the result of hitting his

head in an automobile accident in 1996.” (Exhibit C: Report of
Dr. Goodness, dated September 10, 2003, p. 6); and

. Testing also reflected that Mr. Crutsinger “has some level of brain

impairment.” (Exhibit C: Report of Dr. Goodness, dated
September 10, 2003, p. 9).

(v) Conclusion
As the aforementioned record evidence reflects, the findings of facts are not
entitled to a presumption of correctness. There is clear and convincing evidence that
Mr. Crutsinger did not voluntarily, knowingly, and intelligently relinquish his rights

and agree to talk to law enforcement. 28 U.S.C. §§ 2254(d)(2), (e)(1¥.

 

° — See also Guidry v. Dretke, 397 F.3d 306, 326 (5" Cir. 2005) (“Notwithstanding
AEDPA’s requiring substantial deference for state court determinations of fact, such deference
does not imply abandonment or abdication of judicial review. Deference does not by definition

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 22

 
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 29 of 30 PagelD 219

3. The decision of the state courts are contrary to and an
unreasonable application of Brown

The conclusions of law are contrary to and an unreasonable application of

Brown. See e.g., Crutsinger, 206 S.W.3d at 610, 611;’ Conclusions of Law #17-43 8

a. Mr. Crutsinger was interrogated for a half-hour before
the tape recorder was turned on

The state courts omitted altogether any reference to the fact that Detective
McCaskill testified that he had talked to Mr. Crutsinger “probably around a halfhour,”
before the tape recorder was even turned on. (CR 28:150, 151). Because it was not
recorded, there is no way to know what transpired during that interview. The absence

of this evidence can not lead to the conclusion that there was no coercion. To the

 

preclude relief. A federal court can disagree with a state court’s credibility determination and,
when guided by AEDPA, conclude [under subpart (d)(2)] the decision was unreasonable or that
[under subpart (e)(1)] the factual premise was incorrect by clear and convincing evidence.”)

’ “The court also determined that appellant had voluntarily given a recorded statement and

was not threatened, coerced, or promised anything”... “Appellant’s request to speak to
McCaskill was an independent act of free will” .... “appellant confession was not a product of
coercion or duress”..... “Appellant’s request was a product of his own free will and an .

intervening circumstance which weights heavily in the State’s favor.”

See also Crutsinger, 206 S.W.3d at 611 (“With regard to temporal proximity, the record
clearly shows that less than one hour to an hour and half elapsed between appellant’s
arrest and his interview with McCaskill... [but] Appellant’s request [to speak to the
detective] was a product of his own free will....”).

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 23
Case 4:07-cv-00703-Y Document 31 Filed 10/30/08 Page 30 of 30 PagelD 220

contrary, the REID method of interrogation is a covertly, coercive method of —

interrogation.

b. The REID method of interrogation results in covert
coercion

Although law enforcement testified that Mr. Crutsinger was “cooperative” and
“confessed,” that alone does not justify a conclusion that the relinquishments of his
rights was an “act of free will.” The social science literature reflects that law
enforcement can induce a confession covertly, communicating promises and threats
through the arrangement of the physical layout of the interrogationroom, the physical
proximity of the interrogator to the accused, and the techniques of maximization’ and
minimization,’° even absent overt coercion, force, or necessity. SAUL M. KASSIN, The

Psychology of Confession Evidence,52: AMERICAN PSYCHOLOGIST 221 (1997).

 

Maximization is a covert interrogation technique that effectively communicates a threat
of harm by exaggerating the strength of the evidence, magnitude of the charges, or
seriousness of the offense

"Minimization is a covert interrogation technique that effectively conveys a promise of

leniency by playing down the strength of the evidence, the magnitude of the charges or
seriousness of the offense.

 

Crutsinger v. Quarterman, Case No. 4:07-CV-703-Y 24

 
